PROB 35                                                              Report and Order Terminating Supervision
(Rev 3/93)                                                                    Prior to Original Expiration Date



                          UNITED STATES DISTRICT COURT
                                      FOR THE
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

                  v.                                                  Crim. No. 5:93-CR-I05-4F

ALVIN THOMAS HARRISON, JR

       On December 12, 2006, the above named was placed on supervised release for a period of
60 months. The offender has complied with the rules and regulations of supervised release and is
no longer in need of supervision. It is accordingly recommended that the offender be discharged
from supervision.


Reviewed and approved,                                      Respectfully submitted,


 Is/Jeffrey L. Keller                                        IslBilly W. Boggs, Jr.
Jeffrey L. Keller                                           Billy W. Boggs, Jr.
Supervising U.S. Probation Officer                          Senior U.S. Probation Officer


                                      ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from
supervision and that the proceedings in the case be terminated.

          Dated this       /O:ti     dayOf_---.:....:.~'--7F----_,2010.

                                                         es C. Fox
                                                       nior U.S. District Judge




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